     Case: 3:15-cv-50148 Document #: 50 Filed: 02/29/16 Page 1 of 1 PageID #:372

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Western Division

LDPG, LLC, et al.
                              Plaintiff,
v.                                                 Case No.: 3:15−cv−50148
                                                   Honorable Frederick J. Kapala
Cynosure Inc
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 29, 2016:


        MINUTE entry before the Honorable Iain D. Johnston: The defendant's motion to
seal [48] is denied. The personal identifying information should have been redacted from
the publicly−filed exhibit. See Fed. R. Civ. P. 5.2(a). Accordingly, the defendant shall
submit a redacted version to the Court's operations specialist. Upon receipt, the clerk is
directed to substitute the redacted version for the existing exhibit, and then to lift the
temporary seal. Presentment of the motion to seal set for 3/8/2016 is stricken and no
appearance is required on that date. (yxp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
